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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                        )
                                                 )      Case No. 4:06CR3019
                            Plaintiff,           )
                                                 )
v.                                               )
                                                 )             ORDER
IVAN ROJO OSUNA,                                 )
                                                 )
                            Defendant.           )

       THIS MATTER comes before the Court on defendant's Motion to Withdraw and

Appoint New Counsel and Continue Plea Hearing, filing 57. The Court, being fully advised

in the premises, finds that said Motion should be granted.

       IT IS THEREFORE ORDERED that Assistant Federal Public Defender John C.

Vanderslice and the Federal Public Defender’s office shall be permitted to withdraw as

counsel of record for Mr. Osuna. It is further ordered that the Federal Public Defender’s

office shall contact a CJA panel attorney to represent Mr. Osuna in the above captioned

matter, pursuant to the Criminal Justice Act, 18 U.S.C. § 3006A, and shall forthwith provide

this Court with a draft appointment order (CJA Form 20) bearing the name and other

identifying information of the CJA Panel attorney identified in accordance with the CJA

Plan for this District. The Clerk is directed to remove Mr. Vanderslice from all future

ECF notifications in this case.

       IT IS FURTHER ORDERED that the October 17, 2006, plea hearing shall be

continued until the 1 st day of December, 2006 at 1:00 p.m.

       Dated this 13th day of October, 2006.

                                          BY THE COURT


                                          s/David L. Piester
                                          David L. Piester
                                          United States Magistrate Judge
